Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 1 Page
                                                                     of 31 1 of 31




                         UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


                                                        )
                                                        )
                                                             CaseNors22• tv-22g7
 RAISSA DmISSI KENGNE,                                  )
 Plaintiff,                                             )
                                                        )
 V.                                                     )
 GEORGIA POWER COMPANY                                  )
 C/O Kristi Dow                                         )
 241 Ralph McGill Blvd., BIN 10180 ·                    )
 Atlanta, GA, 30308, USA                                )
                                                        )
 Defendants.                                            )


      PLAINTIFF'S ORIGINAL COMPLAINT, INJUNCTION FOR RELIEF,
                    AND DECLARATORY JUDGMENT

TO THE HONORABLE ruDGE TO SAID COURT:

PLAINTIFF, RAISSA DJUISSI KENGNE ("Plaintiff' or "Borrower") files this Original

Complaint, Injunction for Relief, and Declaratory Judgement against Georgia Power Company

("Defendant", "Georgia Power" or the "Utility"), and show that Plaintiff is entitled to an injunction

and a declaration judgment by this Court that 1) Georgia Power unlawfully, illegally, and/or

wrongfully disconnected service at Plaintiff's home and acted against the Utility Regulations, 2)

Georgia Power's act of closing Plaintiff's account is against laws and regulations governing the

Utility industry in the State of Georgia, 3) Plaintiff is allowed to retain her account number 9343 7-



                                               1 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 2 Page
                                                                     of 31 2 of 31




55009 and not be assigned a new one, 4) Georgia Power must restore power at Plaintiff's home

immediately, 5) Georgia Power allows P laintiff to make payment for the past due amount on her

account using the same account number 93437-55009 that Plaintiff has utilized for more than ten

( 10) years, 6) Georgia Power provides Plaintiff with information related to meter reading data used

to calculate the bill due to a high discrepancy in the kilowatts usage between the months of January

and February 2022, 7) Georgia Power provides Plaintiff with information showing the last time

the meters were tested. Georgia Power should restore the power at Plaintiffs home immediately

because Georgia Power vio lated the following regulations, Rule 515-3-2-.02 Limitations on

Disconnection, Rule 515-3-2-.04 Seasonal Restrictions, Rule 515-3-2-.06 Right of the Customer;

thereby, depriving Plaintiff of public and essential services. Georgia Power is also in violation of

their own "Rules and Regulations for Electric Service". In support of this instrument, Plaintiff,

would respectfully show as described herein.

                                  PRELIMINARY STATEMENT

        1.     Courts and state legislatures have long recognized that access to public utility

service is a basic necessity in modern society. Public utilities are those utilities like electricity,

natural gas, water and local phone service that serve the general public. Public utilities have a

"duty to serve." This means that utilities must provide service to any member of the public living

within the utility's service area who has applied for service and is willing to pay for the service

and comply with the utility's rules and regulations. Georgia Power is one such public utility

company. The utility's duty to serve is not absolute. A utility may deny service for good cause

(e.g., nonpayment). However, there are exceptions to disconnection covered in laws and

regulations governing the utility industry. Although Plaintiff was late in making a payment on her

utility bill, Georgia Power did not have a good reason to stop the electrical service at Plaintiffs

home.

                                               2 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 3 Page
                                                                     of 31 3 of 31




        2.      This case concerns the unlawful disconnection of service at Plaintiffs home by

Georgia Power. Georgia Power is regulated by the Public Service Commission and subject to the

laws of the state of Georgia. The Public Service Commission requires that Georgia Power provides

customers with a disconnection notice before service is disconnected and the option to appeal any

shut-off decision. Plaintiff did not receive a disconnection notice and was not given the option to

appeal the disconnection notice.

        3.      Before disconnecting the electricity, Georgia Power must send a notice at least five

(5) days before the date of disconnection. The disconnect notice must look different from the past

bill for service and state:

                ( 1)     The earliest date for the proposed disconnection,

                (2)      The amount due and the reason for the proposed disconnection,

                (3)      A telephone number customers may call for information about the proposed

        disconnection,

                (4)      How to prevent disconnection of service,

                (5)      Information known to the utility that may assist the consumer in paying the

       bill.

Plaintiff did not receive a disconnection notice. Furthermore, Georgia Power did not provide

Plaintiff with information related to the earliest date for the proposed disconnection, the amount

due and the reason for the proposed disconnection, a telephone number customers may call for

information about the proposed disconnection, how to prevent the disconnection of service, and

information known to Georgia Power that may have assisted the customer in paying the bill.

       4.       At least two (2) days before the proposed disconnection, Georgia Power must try

to make personal contact by:



                                               3 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 4 Page
                                                                     of 31 4 of 31




               ( 1)    telephone,

               (2)     certified mai l, or

               (3)     other methods designed to notify customers of the disconnection.

Plaintiff was not contacted by telephone, certified mail, or any other methods designed to notify

her of the disconnection.

        5.     The Plaintiff's home that is the subject matter of this lawsuit is located at 1280 West

Peachtree ST NW Unit 2109, Atlanta, GA 30309. Plaintiff lives in a condominium name 1280

West Condominium. Georgia Power provides electricity service to the 1280 West Condominium,

including the Plaintiff's home.

       6.      Plaintiff reported a violation of SEC regulations, PCAOB Standards, the Antitrust

law, and a circumvention of the law prohibiting employers from asking about an applicant's pay

history in the state of Georgia. The misconduct happened at BDO USA, LLP. Plaintiff was

retaliated against. Her home was broken into, her life and her family ' s lives were threatened, and

her computers and phones were hacked. In addition, Plaintiff personal information was stolen,

including her Social Security Number "SSN" and protected heath (HIPAA) related information.

These events caused Plaintiff to be unable to address the issues with Georgia Power sooner.

Circumstances mentioned herein are documented in case number 2022CV365268 that was filed in

the Superior Court of the State of Georgia.

       7.      In addition, Plaintiff's access to her mail from Georgia Power was withheld due to

a conflict with the 1280 West Management and the 1280 West Board of Directors who criminally

withheld Plaintiff mail from her. This issue is part of a lawsuit filed in the Superior Court of

Georgia under case 2022CV365268 . Therefore, Plaintiff was not able to file a complaint with the

Public Service Commission ("PSC") or a lawsuit sooner.



                                              4 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 5 Page
                                                                     of 31 5 of 31




        8.      Plaintiff received a bill from Georgia Power for the month of January 2022 in the

amount of $96.07 and for the month of February 2022 in the amount of $78.60. The total due as

of February 11, 2022 amounted to $206.67 and included return item fee. Plaintiff did not receive

a Georgia Power bill for the month of March 2022 because the electricity was disconnected on

March 03 rd , 2022.

        9.      The total amount due to Georgia Power at the time of the disconnection of the

service was $206.67. It is also the amount stated on the last bill dated February 11 1h, 2022 that

Plaintiff received.

        10.     Plaintiff has contacted Georgia Power on June 07 1\ 2022 to a) request that

electricity be restored to her home, b) to pay the past due amount on her existing account number

93437-55009, while keeping the same account number and not being assigned a new account

number, c) to dispute the billing amount on her latest past due bills for the months of January 2022

and February 2002, which according to Georgia Power are the reasons the electricity was

disconnected, and d) to request information about meter reading data that were utilized in order to

calculate Plaintiffs bill for the months of January and February 2022.

        11 .   Plaintiff wants the electricity to be restored at her home. In addition, Plaintiff wants

to dispute the amount on her January 2022 and February 2022 bill payment and keep her account

number 93437-55009. Plaintiff also wants to make payments for the undisputed part of her

electrical bill for the months of January 2022 and February 2022. Plaintiff has also filed a formal

complaint with the Public Service Commission on June 61\                2022. The Public Service

Commission's complaint reference number is 100-205-661.



                                                 I.
                           PARTIES AND SERVICE OF PROCESS

                                               5 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 6 Page
                                                                     of 31 6 of 31




                                 Plaintiff Raissa Djuissi Kengne

        12.    Plaintiff Raissa Djuissi Kengne is a Georgia resident residing at 1280 West

Peachtree ST NW Unit 2109, Atlanta, GA 30309. Plaintiff Raissa Djuissi Kengne's mailing

address is 570 Piedmont Ave NE Unit 55166, Atlanta, GA 30308.

        13.    Plaintiff Raissa Djuissi Kengne had electricity disconnected at her home without

notice or option to remedy the default or dispute the charge.

        14.    Plaintiff Raissa Djuissi Kengne is a Certified Information Systems Auditor

("CISA"). The CISA certification attests of Plaintiffs expertise and her ability to apply a risk-

based approach to planning, executing, and reporting on audit engagements. The ClSA

certification proves the Plaintiffs competence in incorporating privacy by design into technology

platforms, products and processes, communicating with legal professionals, and keeping the

organization compliant efficiently and cost effectively. The CISA proves the Plaintiff has the

technical skills and knowledge it takes to assess, build, and implement a comprehensive privacy

solution.

       15.     Plaintiff Raissa Djuissi Kengne is a Certified Information Security Manager

("CISM"). The CISM certification attests of the Plaintiffs technical expertise and experience in

IS/IT security and control. The CISM certification proves the Plaintiffs ' competence in alignment

between the organization's information security program and its broader goals and objectives. The

CISM certification also attest of Plaintiffs commitment to compliance, security and integrity.

       16.     Plaintiff Raissa Djuissi Kengne is a Certified in Risk and Information Systems

Control ("CRISC") . The CRISC certification proves the Plaintiffs skills and knowledge in using

governance best practices and continuous risk monitoring and reporting.




                                              6 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 7 Page
                                                                     of 31 7 of 31




        17.    Plaintiff Raissa Djuissi Kengne is a Certifiyd Internal Auditor ("CIA"). The CIA

certification proves Plaintiff's expertise in the design , implementation, testing, and assessment of

controls as well as expertise in corporate governance, risk management, and internal controls. The

CIA certification also proves the Plaintiffs expertise in the areas of governmental regulations and

reporting requirements.

        18.    Plaintiff Raissa Djuissi Kengne is a Certified Fraud Examiner ("CFE"). The CFE

credentials proves Plaintiffs expertise as a trained professional who possesses a unique set of

diverse skills in preventing, detecting and investigating fraud. The CFE credential validates the

plaintiffs skills such as knowledge of complex financial transactions, understanding of

investigative techniques and legal issues, the ability to resolve allegations of fraud, and the design
                     I



of effective anti-fraud programs.

        19.    Plaintiff Raissa Djuissi Kengne is a Lean Six Sigma Green Belt holder. The Lean

Six Sigma Green Belt proves the Plaintiff possesses a thorough understanding of enhanced

problem-solving skills, with an emphasis on the DMAIC (Define, Measure, Analyze, Improve and

Control) model. A Lean Six Sigma Green Belt certification also denotes the Plaintiff is well-versed

in the advanced elements of Lean Six Sigma Methodology, and leads improvement projects at a

high level of proficiency.

       20.     Plaintiff Raissa Djuissi Kengne reported a violation of SEC regulations, PCAOB

Standards, the Antitrust law, and a circumvention of the law prohibiting employers from asking

about an applicant's pay history in the state of Georgia. The misconduct happened at BDO USA,

LLP where Plaintiff worked. Plaintiff was retaliated against. Plaintiffs home was broken into.

Plaintiffs life and her family's lives were threatened. Plaintiff's computers and phones were

hacked. Plaintiff had to travel to make sure her family was alright and fell behind on her mortgage.



                                               7 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 8 Page
                                                                     of 31 8 of 31




         21.     Plaintiffs Raissa Djuissi Kengne wants to pay her past due mortgage amount and

any reasonable fees associated with the initial foreclosure process, thereby, bringing the balance

on her account current.

                                     Defendant Georgia Power


        22.      Defendant Georgia Power is an electric utility headquartered in Atlanta, Georgia,

United States. Georgia Power serves the state of Georgia. The address provided on Georgia

Power's website (ww.georgiapower.com) is 241 Ralph McGill Blvd NE, Atlanta, GA 30308.

Georgia Power' s phone number is 1 (888) 660-5890.

        23.     Georgia Power is the largest of the four electric utilities that are owned and operated

by Southern Company. Georgia Power is an investor-owned, tax-paying public utility that serves

more than 2.4 million customers in all but four of Georgia's 159 counties.

        24.     Georgia Power is regulated by a Georgia state agency, the Public Service

Commission ("PSC"). Georgia offers essential services to the public and is subject to some degree

of governmental control in addition to being regulated by the PSC. Georgia Power is subject to the

jurisdiction of this court.

        25.     Defendant Georgia Power can be served with legal process through delivery of the

Summons and Complaint, Injunction for Relief, and Declaratory Judgment in this action to its

Registered Agent at the address listed below.

Defendant Name: Georgia Power

Defendant Registered Agent: Kristi Dow

Defendant AG South Farm Credit Address: 241 Ralph McGill Blvd., BIN 10180, Atlanta, GA,

30308, USA

Defendant County: Fulton County, Georgia


                                                8 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 9 Page
                                                                     of 31 9 of 31




Defendant AG South Farm Credit Phone Number: l (888) 660-5890

        26.     Service is requested at this time.




                                                 ll.
                                   JURISDICTION AND VENUE


        27.     This Court has subject matter jurisdiction over this case because the Plaintiff s

claims arise under the laws of the State of Georgia and the United States. It has jurisdiction over

the Plaintiffs state law and regulations claims because they are so closely related to the federal

claims as to form part of the same case or controversy. The Northern District of Georgia consists

of four (4) divisions as outlined and described in 28 U.S.C. § 90. The Atlanta Division comprises

the counties of Cherokee, Clayton, Cobb, DeKalb, Douglas, Fulton, Gwin11ett, Henry, Newton,

and Rockdale.

        28.     Pursuant to 28 U.S. Code§ 1391, a civil action may be brouglit in a judicial district

in which a substantial part of the events or omissions giving rise to the claim occurred, or a

substantial part of property that is the subject of the action is situated. Georgia Power provides

electricity service to Plaintiff in Fulton County, Atlanta, GA 30309.

        29.     Pursuant to 28 U.S. Code § 1391 , for purposes of venue in a State, which has more

than one judicial district and in which a defendant that is a corporation is subject to personal

jurisdiction at the time an action is commenced, such corporation shall be deemed to reside in any

district in that State within which its contacts would be sufficient to subject it to personal

jurisdiction if that district were a separate State, and, if there is no such district, the corporation

shall be deemed to reside in the district within which it has the most significant contacts.




                                                9 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 10Page
                                                                      of 3110 of 31




        30.     Pursuant to 28 U.S. Code§ 1343 , Civil rights and elective franchise, the Northern

 District Court of the State of Georgia has authority:

                (1)     To recover damages for injury to his person or property, or because of the

        deprivation of any right or privilege of a citizen of the United States, by any act done in

        furtherance of any conspiracy mentioned in section 1985 of Title 42;

                (2)     To recover damages from any person who fails to prevent or to aid in

        preventing any wrongs mentioned in section 1985 of Title 42 which he had knowledge

        were about to occur and power to prevent;

                (3)     To redress the deprivation, under color of any State law, statute, ordinance,

        regulation, custom or usage, of any right, privilege or immunity secured by the Constitution

        of the United States or by any Act of Congress providing for equal rights of citizens or of

        all persons within the jurisdiction of the United States;

                (4)     To recover damages or to secure equitable or other relief under any Act of

        Congress providing for the protection of civil rights, including the right to vote;

                (5)     To exercise such other powers, not contrary to the Constitution, as are or

        may be given to such courts by law.

        31.     Venue is proper in this Court because all or a substantial part of the conduct and

violations giving rise to the claims in the case occurred in the State of Georgia. See O.C.G.A §

14-2-510, O.C.G.A § 9-10-91 , O.C.G.A § 9-10-93, O.C.G.A § 9-10-31, and O.C.G.A § 9-10-34.

        32.     This Court has personal jurisdiction over Defendant Georgia Power because

Defendant Georgia Power, through its agents committed the acts that are the subject matter of

this lawsuit in the State of Georgia. See O.C.G.A § 14-2-510, O.C.G.A § 9-10-91, O.C.G.A § 9-

10-93, O.C.G.A § 9-10-31, and O.C.G.A § 9-10-34.



                                               10 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 11Page
                                                                      of 3111 of 31




        33.     This Court has personal jurisdiction over Defendant Georgia Power because

 Defendant Georgia Power and its agents and employees, have ongoing and systematic contacts

 with the State of Georgia, maintains headquarter offices in the State of Georgia, and reside in the

 State of Georgia, and have committed the acts that are the subject matter of this lawsuit in the

 state of Georgia.

        34.     Venue is proper in this Court because Defendant Georgia Power is headquartered

 and its principal place of business is located in Fulton County, Atlanta, Georgia.

        35.     Venue is proper in this Court because Defendant Georgia Power's conducts

 substantial business in Fulton County, Atlanta, Georgia.

        36.     Plaintiff Raissa Djuissi Kengne has standing to bring this Complaint in Court

because she will be adversely affected by the actions of the Defendant and will be subject to

undue harm if Defendant does not restore electricity at Plaintiffs under Plaintiffs account

number 93437-55009. Plaintiff does not want a new number.

        37.     Accordingly, venue is proper pursuant to 28 U.S.C. § 90, 28 U.S. Code§ 1391, 28

U.S. Code§ 1343, and Georgia Civil Practice and Corporations, Partnerships, And Associations

Code§ 15-6-8, O.C.G.A § 14-2-510, O.C.G.A § 9-10-91, O.C.G.A § 9-10-93, O.C.G.A § 9-10-

31, O.C.G.A § 9-10-34.




                                               III.
                            STATEMENT OF RELEVANT FACTS


                               Notice of Termination Not Received

        38.     Defendant Georgia Power terminated service at Plaintiff s home on March 3 rd ,

2022.


                                              11 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 12Page
                                                                      of 3112 of 31




        39.     Plaintiff was not given notice prior to termination of service: (a) that the service

 will be terminated by a particular date, (b) the reason for the proposed shut-off, (c) the various

 rights that the consumer has to prevent termination, ( d) the right and procedures for appeal.

 Sometimes written notice must be given more than once.

        40.     Plaintiff has constitutional due process rights to notice and a hearing prior to the

termination of utility service.

        41.     Defendant Georgia Power failed to comply with these notice requirements and

made the termination wrongful.

                 Limitations Applicable to the Disconnection of Utility Service

        42.     The State of Georgia's public utility regulations typically permit disconnection for

non-payment, but often prohibit disconnections for small, insignificant amounts, or for balances

that have been outstanding for less than a certain number of months.

        43.     Georgia laws and the Public Service Commission rules also prohibit

disconnections when there is a dispute over the bill.

        44.     Georgia laws and the Public Service Commission rules also prohibit

disconnections during certain period in the Winter and the Summer.

        45.     A kilowatt hour (kWh) is a measure of how much energy is used per hour, whilst

a kW is a measure of power. kW stands for kilowatt, a universal standard for measuring

electricity. Therefore, one (1) kilowatt equals 1,000 watts. Georgia Power charges by how much

electricity is used per kilowatt hour (kWh). The kWh is a unit of energy, the number of kilowatts

that is use over time.

        46.     Plaintiff Raissa Kengne is disputing the amount on the bill that she received based

on her kWh usage. The total kWh used on Plaintiffs electricity bill for the month of November



                                               12 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 13Page
                                                                      of 3113 of 31




 2022 was 390 kWh. The total kWh used on Plaintiffs electricity bill for the month of December

 2022 was 723 kWh. There is a difference of 85.34%. The usage on the bill increased by 85.34%

or 333 between November 2022 and December 13 , 2022.

         47.     The total kWh used on Plaintiffs electricity bill for the month of January dated

January 13rd, 2022 was 736 kWh. The total kWh used on Plaintiffs electricity bill for the month

 of February dated February 11th, 2022 was 538 kWh. There is a difference of 26.90%. The usage

 on the bill decreased by 26.90% or 333 between January 13rd, 2022 and February 11th, 2022.

         48.     There may be adjustments in the readings. The meter is read once a month by a

Meter Reading employee. Due to weekends, holidays, or the length of the month, the total days

between each meter reading may vary; thus, it is possible for the monthly usage to increase or

decrease from the previous billing period even though the average daily use may remain the

same. The electricity bill is calculated based on what is used in a monthly billing cycle. As the

meter is read from month to month, the difference in these readings accounts for consumption,

and Plaintiff is billed accordingly. On occasion, Georgia Power may estimate the electric usage

for a month's billing cycle due to specific circumstance. Georgia Power must provide the

customer with information about estimated readings and any adjustments that are made to

Plaintiff's account due to estimated readings. Plaintiff did not receive information related to a

possible meter reading adjustment to explain the difference in the usage and the calculation of

her electricity bill.

        49.      Plaintiff is disputing her electricity bills due to the discrepancies in her electricity

usage as reported by Georgia Power on her bit I. Plaintiff submitted copies of her Georgia Power

electricity as part of the Notice of Filing - Exhibit l.

        50.      Plaintiff's electricity bill was paid in full for the month of December 2022.



                                                 13 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 14Page
                                                                      of 3114 of 31




        51.     Defendant Georgia Power stated that Plaintiff's bill was not paid for the months

 of January 2022 and February 2022.

        52.      Plaintiff paid a deposit amount to Georgia Power when she first opened her

 account. The deposit amount was not applied to Plaintiff's electricity bill prior to the service

 disconnection or was not taken account into determining the number of days past due before

 disconnecting the electricity. Defendant Georgia Power has terminated service at Plaintiff's

 home before the required 45 days after the date of the bill, thereby violating laws and regulations

 related to service disconnection in the state of Georgia.

        53 .    Plaintiff's electricity was disconnected on March 3 rd , 2022.

        54.     The laws of the state of Georgia and the rules and regulations approved by the

PSC prevent Georgia Power from disconnecting power during certain period in the year,

 commonly referred to as "Seasonal Hold".

        55.     During the winter, "A utility shall not discontinue gas or electric service to a

 residential customer between November 15th and March 15th if the forecasted local

temperature is below 32°F for a 24-hour period beginning at 8:00 a.m. on the date of the

proposed disconnection. The consumer must agree in writing to pay the past due balance

including customer charges in equal installments beginning with the first billing period after

March 15th and ending before October 15th. Consumer must also agree in writing to pay all bills

for current service by the due date.

        56.     Plaintiff was not provided the opportunity to agree in writing to pay the balance

due.

        57.     Defendant Georgia Power disconnected service at Plaintiff's home against the

laws of the State of Georgia and the PSC 's rules and regulations .



                                               14 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 15Page
                                                                      of 3115 of 31




        58.     Defendant Georgia Power's wrongful disconnection of service at Plaintiff's home

 is still causing harm to the Plaintiff as of the month of June 2022 due to the high heat

 temperature in Georgia.

        59.     The seasonal hold also applies to the summer. "A utility shall not discontinue

 electric service to a residential customer if, prior to 8:00 A.Mon the date of the scheduled

 disconnection, a National Weather Service Heat Advisory or Excessive Heat Warning is in

effect, or is forecasted to be in effect by the National Weather Service, for the county in which

 the meter scheduled for disconnection is located."

        60.     Plaintiff is impacted by the high heat that has started in Georgia. Under the

seasonal hold for the summer, Defendant would not be able to disconnect service at Plaintiff's

home. Therefore, Georgia Power's wrongful act is still in progress.

        61.     Plaintiff still does not have electricity in her home and Defendant Georgia Power

refuses to provide Plaintiff with electricity using her current account number 93437-55009.

                                          Right To Appeal

        62.     Before a service termination, Plaintiff has a right to appeal to both Georgia Power

and to the Georgia Public Service Commission.

        63 .    Electricity service is maintained or reconnected during the appeals process.

        64.     Plaintiff was not provided with the option to appeal the termination of service.

                                Right To Deferred Payment Plan

        65.     In the state of Georgia, prior to the service termination, Plaintiff should have been

informed of the option to pay the old bills through a reasonable installment plan.

        66.     Plaintiff was not provided with the option for a reasonable installment plan.

                                            Billing Disputes



                                               15 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 16Page
                                                                      of 3116 of 31




        67.        Georgia Power is prohibited from disconnecting service if there is a legitimate

billing dispute.

        68.        Plaintiff is willing to pay the undisputed portions of Plaintiff's bill.

        69.        Plaintiff Raissa Kengne is disputing the amount on the bill that she received based

on her kWh usage. The total kWh used on Plaintiff's electricity bill for the month of November

2022 was 390 kWh. The total kWh used on Plaintiff's electricity bill for the month of December

2022 was 723 kWh. There is a difference of 85.34%. The usage on the bill increased by 85.34%

or 333 between November 2022 and December 13 , 2022.

        70.        A kilowatt hour (kWh) is a measure of how much energy is used per hour, whilst

a kW is a measure of power. kW stands for kilowatt, a universal standard for measuring

electricity. Therefore, one (1) kilowatt equals 1,000 watts. Georgia Power charges by how much

electricity is used per kilowatt hour (kWh). The kWh is a unit of energy, the number of kilowatts

that is use over time.

        71.     The total kWh used on Plaintiff's electricity bill for the month of January dated

January 13rd, 2022 was 736 kWh. The total kWh used on Plaintiff's electricity bill for the month

of February dated February 11th, 2022 was 538 kWh. There is a difference of 26.90%. The usage

on the bill decreased by 26.90% or 333 between January 13rd, 2022 and February 11th, 2022.

       72.     There may be adjustments in the readings. The meter is read once a month by a

Meter Reading employee. Due to weekends, holidays, or the length of the month, the total days

between each meter reading may vary; thus, it is possible for the monthly usage to increase or

decrease from the previous billing period even though the average daily use may remain the

same. The electricity bill is calculated based on what is used in a monthly billing cycle. As the

meter is read from month to month, the difference in these readings accounts for consumption,



                                                  16 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 17Page
                                                                      of 3117 of 31




and Plaintiff is billed accordingly. On occasion, Georgia Power may estimate the electric usage

for a month's billing cycle due to specific circumstance. Georgia Power must provide the

customer with information about estimated readings and any adjustments that are made to

Plaintiffs account due to estimated readings. Plaintiff did not receive information related to a

possible meter reading adjustment to explain the difference in the usage and the calculation of

her electricity bill.

        73.      According to Georgia Power's internal rules and regulation on Metering and

Billing, if a "broken meter seals will_constitute ground for question as to accuracy of meter

registration. Should the meter fail to register properly, the bill will be estimated, based either

upon a meter reading taken during the next billing period after the meter has been repaired, or

replaced, or upon the amount charged during a previous corresponding period at the discretion of

the Company. Correction of mistakes in meter readings and billings will be made when

discovered by adding or deducting the proper amount to or from the bill."

        74.      Plaintiff notes that the 1280 West Management team and the 1280 West Board

members have access to alter the meter to Plaintiffs unit. Plaintiff is suing several 1280 West

Management team members and the 1280 West Board members in the Fulton County Superior

Court, which is documented in case number 2022CV365268.

        75.      Plaintiff is also suing several 1280 West Management team members and the

1280 West Board members in the Fulton County Superior Court, which is documented in case

number 2022CV365268 for withholding Plaintiffs mail including mail from Georgia Power.

Plaintiff was obligated to take a USPS mail box to securely receive her mail.




                                               17 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 18Page
                                                                      of 3118 of 31




           76.   Plaintiff is disputing her electricity bills due to the discrepancies in her electricity

usage as reported by Georgia Power on her bill. Plaintiff submitted copies of her Georgia Power

electricity as part of the Notice of Filing - Exhibit 1.

                         Plaintiff's Willingness To Pay Past Due Amount

           77.   Plaintiff is willing to pay the past due amount on her account if she is allowed to

make the payment on the account number 93437-55009 that she has held for more than ten (10)

years.

                                            Closed Account

           78.   Defendant Georgia Power closed Plaintiffs account number 93437-55009.

           79.   Defendant Georgia Power refuses to let Plaintiff pay the previous balance on her

account using the account number 93437-55009.

           80.   Defendant Georgia Power informed Plaintiff on the phone on June 6 th , 2022 that

all Georgia Power locations had been closed and she will only be able to make payments to a

new account at a Walmart, Walgreens, Publix, or Kroger location using a new account number.

           81.   Plaintiff is reluctant to make payments to an unknown account number obtained

via telephone in view of the increase in phone scams.

           82.   Plaintiff does not want to have a new account number and has requested that she

be allowed to make a payment on the past due balance to the account number she has utilized in

the past, which is account number 93437-55009. Defendant Georgia Power declined Plaintiffs

request.

         83.     Plaintiff requests that the court orders Georgia Power to re-establish Plaintiffs

account number 93437-55009 and to allow Plaintiff to make payments to this account.

                                Definition and Description of Terms



                                                18 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 19Page
                                                                      of 3119 of 31




        84.     Billing (Past Due Date): A bill is past due if it remains unpaid 21 days from the

 statement Date.

        85.     Late Fee: Georgia Power's late fee is 1.5% of balance on bills greater than $100.

        86.     Deposit: The maximum deposit is two-and-one-half-twelfths (2.5 times) the

 average monthly bill.

        87.     Interest Rate: Interest shall accrue on all deposits held on the customer's Georgia

 Power Company's account.

        88.     Budget Billing: A payment option that is available to customers who want the

 convenience of paying the same bill amount each month. The monthly amount is based upon the

customer's rolling twelve-month average bill. At the end of the specified period, the customer's

account is "trued up. "

        89.    Flat Bill: A payment option that allows a consumer to pay the same amount each

month for electricity usage for a specified period of time. The bill is based upon the customer's

twelve-month average bill plus a premium which may be as much as 10%. There is no true-up at

the end of the contract period. If you pay more for electric service than what you used the

amount that you have overpaid will not be credited to your account.




                                              IV.


                     CAUSES OF ACTION AND CLAIMS FOR RELIEF


                                         COUNT ONE:


         Notice of Termination Not Received - Illegal and Wrongful Disconnection
                          Rule 515-3-2-.01 Reasons for Disconnection
                           Rule 515-3-2-.02 Notice of Disconnection

                                              19 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 20Page
                                                                      of 3120 of 31




                                       (Against Georgia Power)
         90.     The Plaintiff re-alleges and incorporates by reference each and every paragraph of

 this Complaint, Injunction for Relief, and Declaratory Judgment and the facts as if set forth here

 in full for all purposes.

         91.     No residential electric utility service may be disconnected except for the following

 reasons:

                 (1)     upon consumer request;

                 (2)     when service to the customer constitutes an immediate hazard to persons

         or property;

                 (3)     by order of the Georgia Public Service Commission, any Court, or any

         other authorized public agency;

                 (4)     violation of applicable utility rules and regulations approved by and filed

        with the Georgia Public Service Commission;

                 (5)     a bill for past service is not paid within at least 45 days after the date of

         the bill, provided that said bill is not for service to a previous occupant of the premises

         served, is not for the purchase of merchandise or appliances and is not for service

        rendered at a different metering point if such bill is unpaid for less than 45 days.

        92.      Plaintiff paid a deposit amount to Georgia Power when she first opened her account.

The deposit amount was not applied to Plaintiffs electricity bill prior to the service disconnection

or was not taken account into determining the number of days past due before disconnecting the

electricity. Defendant Georgia Power has terminated service at Plaintiffs home before the required

45 days after the date of the bill, thereby violating laws and regulations related to service

disconnection in the state of Georgia.



                                                20 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 21Page
                                                                      of 3121 of 31




         93.     Utility companies must provide a written notice of proposed disconnect provided

 at least five (5) days prior to date of disconnection.

         94.    Plaintiff was not given notice prior to termination of service: (a) that the service

 will be terminated by a particular date, (b) the reason for the proposed shut-off, (c) the various

 rights that the consumer has to prevent tem1ination, (d) the right and procedures for appeal.

 Sometimes written notice must be given more than once and may not resemble a regular bill.

        95.     Plaintiff Raissa Djuissi Kengne is in need of intervention by the Court to settle and

 afford relief from lack of electricity, uncertainty, and insecurity with respect to her rights, status,

 and legal relations with Georgia Power relative to the service of utility by a company regulated by

 the Public Service Commission and subject to the laws of the state of Georgia, and the ends of

justice require that the declaration be made.



                                            COUNT TWO:

                          Illegal ·And Wrongful Disconnection of Service
                          Rule 515-3-2-.02 Limitations on Disconnection
                               Rule 515-3-2-.04 Seasonal Restrictions
                            Rule 515-3-2-.01 Reasons for Disconnection
                                       (Against Georgia Power)
        96.     The Plaintiff re-alleges and incorporates by reference each and every paragraph of

this Complaint and the facts as if set forth here in full for all purposes.

        97.     Other rules notwithstanding, a utility shall not discontinue service to a residential

customer for an unpaid bill between November 15 and March 15 if:

                 ( 1)   The customer agrees in writing to pay the past-due balance including

        customer charges in equal installments for a maximum duration beginning with the first



                                                21 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 22Page
                                                                      of 3122 of 31




        billing period after March 15 and concluding prior to the following October 15, unless the

        customer fails to comply with such agreement;

                 (2)   In addition, the customer agrees in writing to pay all bills by their due date

        for current service received after said agreement unless the customer fails to comply with

        such agreement;

                 (3)   The forecasted local low temperature for a 24-hour period beginning at

        8:00 A.M. on the date of the proposed disconnection is below 32° F.

        98.    Other rules notwithstanding, an electric utility shall not discontinue service to a

residential customer for an unpaid bill if:

               (I)     Prior to 8:00 A.M. on the date ofthe scheduled disconnection, a National

       Weather Service Heat Advisory or Excessive Heat Warning is in effect, or is forecasted

       to be in effect by the National Weather Service, for the county in which the meter

       scheduled for disconnection is located.

       99.     Plaintiffs electricity was disconnected on March 3rd, 2022.

        100.   Defendant Georgia Power's wrongful disconnection of service at Plaintiffs home

is still causing harm to the Plaintiff as of the month of June 2022 due to the high heat temperature

in Georgia.

       101.    The usage on Plaintiffs electricity bill increased by 85 .34% or 333 between

November 2022 and December 13, 2022.

       102.    The usage on the bill decreased by 26.90% or 333 between January 13rd, 2022

and February 11th, 2022.




                                              22 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 23Page
                                                                      of 3123 of 31




        103.    Plaintiff is disputing her electricity bills due to the discrepancies in her electricity

usage as reported by Georgia Power on her bill. Plaintiff submitted copies of her Georgia Power

electricity as part of the Notice of Filing - Exhibit 1.

        104.    Plaintiffs electricity bill was paid in full for the month of December 2022.

        105.    Defendant Georgia Power stated that Plaintiffs bill was not paid for the months

of January 2022 and February 2022.

        106.     Plaintiff paid a deposit amount to Georgia Power when she first opened her

account. The deposit amount was not applied to Plaintiffs electricity bill prior to the service

disconnection or was not taken account into determining the number of days past due before

disconnecting the electricity. Defendant Georgia Power has terminated service at Plaintiffs

home before the required 45 days after the date of the bill, thereby violating laws and regulations

related to service disconnection in the state of Georgia.

        107.    Plaintiff Raissa Djuissi Kengne is in need of intervention by the Court to settle and

afford relief from lack of electricity, uncertainty, and insecurity with respect to her rights, status,

and legal relations with Georgia Power relative to the service of utility by a company regulated by

the Public Service Commission and subject to the laws of the state of Georgia, and the ends of

justice require that the declaration be made.



                                          COUNT THREE:

                               Wrongful Denial of Right To Appeal
                                      (Against Georgia Power)
        108.    The Plaintiff re-alleges and incorporates by reference each and every paragraph of

this Complaint and the facts as if set forth here in full for all purposes.

        109.    Electricity service is maintained or reconnected during the appeals process.


                                                23 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 24Page
                                                                      of 3124 of 31




        110.    Plaintiff was not provided with the option to appeal the termination of service.

        111.    Plaintiff Raissa Djuissi Kengne is in need of intervention by the Court to settle and

afford relief from lack of electricity, uncertainty, and insecurity with respect to her rights, status,

and legal relations with Georgia Power relative to the service of utility by a company regulated by

the Public Service Commission and subject to the laws of the state of Georgia, and the ends of

justice require that the declaration be made.




                                          COUNT FOUR:


                   Wrongful Denial of the Right To Deferred Payment Plan
                                      (Against Georgia Power)
        112.    The Plaintiff re-alleges and incorporates by reference each and every paragraph of

this Complaint and the facts as if set forth here in full for all purposes.

        113.    Plaintiff was not provided with the option for a reasonable installment plan.

        114.    Plaintiff Raissa Djuissi Kengne is in need of intervention by the Court to settle and

afford relief from lack of electricity, uncertainty, and insecurity with respect to her rights, status,

and legal relations with Georgia Power relative to the service of utility by a company regulated by

the Public Service Commission and subject to the laws of the state of Georgia, and the ends of

justice require that the declaration be made.



                                           COUNT FIVE:


                                           Billing Disputes
                             Rule 515-3-2-.06 Right of the Customer
                                      (Against Georgia Power)


                                                24 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 25Page
                                                                      of 3125 of 31




         115.    The Plaintiff re-alleges and incorporates by reference each and every paragraph of

 this Complaint and the facts as if set forth here in full for all purposes.

         116.    In the case of a disputed bill, the residential customer shall have the right, after all

 remedial measures with the utility have failed, to request in writing, or orally to be followed by a

 request in writing, the Georgia Public Service Commission to investigate the dispute before service

 may be terminated, provided that such a request must be made within 10 days after the date of the

 disputed bill. Any late charges assessed in the case of a disputed bill shall be refunded if it is

 determined that the customer does not owe the bill.

        117.    Plaintiff was unable to contact Georgia Power sooner due to horrific events detailed

m a separate lawsuit filed in Fulton County Superior Court and referenced by case number

2022CV365268.

        118.    Plaintiff is disputing her electricity bills due to the discrepancies in her electricity

usage as reported by Georgia Power on her bill. Plaintiff submitted copies of her Georgia Power

electricity as part of the Notice of Filing - Exhibit 1.

        119.    The usage on Plaintiffs electricity bill increased by 85.34% or 333 between

November 2022 and December 13, 2022.

        120.    The usage on the bill decreased by 26.90% or 333 between January 13rd, 2022

and February 11th, 2022.

        121.    Defendant Georgia Power's rules and regulations on Metering and Billing state as

follows and included as part of the Notice of Filing- Exhibit 2:

        (1)     A separate meter shall be used in each separate premises for measuring electric

        service to each customer. Meter readings will not be consolidated for the same customer

        at different premises, or for several customers on the same or different premises. Each



                                                25 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 26Page
                                                                      of 3126 of 31




       metered service shall be billed at a service schedule prescribed for the class of service,

       and service supplied through more than one meter at the same or different locations shall

       not be combined and billed under one service schedule.

       (2)      The location of the metering equipment shall be mutually agreed upon by the

       customer and a representative of the Company, and this location together with space to be

       provided must conform to the Company's BlueBook for Electrical Service.

       (3)     Broken meter seals will constitute ground for question as to accuracy of meter

       registration. Should the meter fail to register properly, the bill will be estimated, based

       either upon a meter reading taken during the next billing period after the meter has been

       repaired, or replaced, or upon the amount charged during a previous corresponding period

       at the discretion of the Company. Correction of mistakes in meter readings and billings

       will be made when discovered by adding or deducting the proper amount to or from the

       bill.

       (4)     Meters will be read at regular intervals monthly, in groups, known as routes, the

      reading date of any particular meter depending upon the route in which it is located. Bills

      will be rendered as soon as practicable after meters are read each month and shall be due

      and payable to the Company when rendered.

      (5)      Where a meter cannot be read on the scheduled date the meter reading and

      corresponding use for the month will be estimated based on use by the customer in

      previous months. Since meter readings are continuous from month to month, any error in

      such estimate will automatically be corrected with the next actual meter reading.

      (6)      Selective Meter Testing




                                              26 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 27Page
                                                                      of 3127 of 31




                           a)        Meters are to be sample tested utilizing recognized electric

                   utility industry best practices and in accordance with the approved plan

                   described in this section. The sample size and test criteria for acceptance

                   or rejection of any lot of watt-hour meters shall be in accordance with

                   American National Standards Institute/American Society for Quality

                   (ANSI/ASQ) Sampling Plans.

                                     1.     ANSI/ASQ, Sampling Procedures and Tables for

                           Inspection by Variables for Percent Nonconforming (ANSI/ASQ

                           Zl.9).
                            I
                                     2.     ANSI/ASQ, Sampling Procedure and Tables for

                           Inspection by Attributes (ANSI/ASQ Zl.4).

                           b)        Each calendar year a random sample of our Advanced

                   Metering Infrastructure (AMI) meters in service from the entire system

                   shall be drawn, tested and the accuracy calculated in accordance with the

                   above procedure. An exception would only exist in testing the meters of

                   customers on the AMI Meter Opt Out tariff. These meters will be tested on

                   an interval not to exceed every three (3) years.

                          c)         The percent accuracy is to be measured to the nearest .1 of

                   1% and the upper and lower specification limits shall be 102% and 98%

                   respectively. Failure of any lot to meet the above standards shall result in

                   concentrated testing to determine if increased maintenance or accelerated

                   retirement is in order to maintain the required accuracy for acceptance

                   under the plan.



                                            27 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 28Page
                                                                      of 3128 of 31




               (7)       Adjustment of Bills:

                                a)      An adjustment of past bills for service will be made on

                         customer complaint, if the meter is found on test to be in excess of 102%

                         average accuracy.

                                b)      The amount of adjustment shall be calculated on the basis

                         that the metering equipment should be 100 percent accurate. For kilowatt

                         and kilowatt-hour meters, the average shall be the arithmetic average of

                         percent indication at light load and at heavy load, giving the heavy load

                         indication a weight of four.

                                c)      The records of the customer's energy use and those of

                         previous tests shall be reviewed and a mutually acceptable agreement

                         reached between the customer and the Company as to when the error

                         began. Meters below 98% average accuracy will be handled as above

                         except those adjustments will be limited to the preceding six months.

               (8)       Receivables of $75 or more which remain unpaid 21 calendar days after

       the bill date are subject to a late payment charge, applied at the rate of 1.5% but not less

       than $2.00. 13.

               (9)       Meter Re-read Fee:

                                a)       A customer may assert an incorrect meter reading and

                         request that the Company re-read his meter.

       122.    Plaintiff notes that the 1280 West Management team and the 1280 West Board

members have access to alter the meter to Plaintiff's unit. Plaintiff is suing several 1280 West




                                                28 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 29Page
                                                                      of 3129 of 31




 Management team members and the 1280 West Board members in the Fulton County Superior

 Court, which is documented in case number 2022CV365268.

         123.    Plaintiff is also suing several 1280 West Management team members and the

 1280 West Board members in the Fulton County Superior Court, which is documented in case

 number 2022CV365268 for withholding Plaintiffs mail including mail from Georgia Power.

 Plaintiff was obligated to take a USPS mail box to securely receive her mail.

         124.   Plaintiff is disputing her electricity bills due to the discrepancies in her electricity

 usage as reported by Georgia Power on her bill. Plaintiff submitted copies of her Georgia Power

 electricity as part of the Notice of Filing - Exhibit 1. When a·dispute is started, electricity must

 not be disconnected or should be restored.

         125.    Plaintiff Raissa Djuissi Kengne is in need of intervention by the Court to settle

 and afford relief from lack of electricity, uncertainty, and insecurity with respect to her rights,

 status, and legal relations with Georgia Power relative to the service of utility by a company

 regulated by the Public Service Commission and subject to the laws of the state of Georgia, and

 the ends of justice require that the declaration be made.




                                                 V.

                                      PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests this Court that Defendant be cited to appear and

answer herein; that, on final hearing, the Court enters a judgment against Defendants in Plaintiffs

favor and grants relief to Plaintiff against the Defendants as follows:

        (1)     Order the Defendant to restore electricity at Plaintiffs home immediately.




                                                29 of31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 30Page
                                                                      of 3130 of 31




         (2)    Order the Defendant to let Plaintiff pay for past due amount of the bill under the

                account number 93437-55009 that Plaintiff has had for more than ten (10) years.

        (3)     Declare that the Defendants violated the laws and regulations as set forth above;

        (4)     Order the Defendants to provide usage information, reading meter test information,

                and any other relevant documents and information required by Plaintiff to calculate

                the disputed usage and amount on her electricity bills.

        (5)     Grant any such additional relief to Plaintiff in law or equity as the Court deems just

                and proper under the circumstances.



                                                VI.


                                DISCOVERY CONTROL PLAN


 Plaintiff intends for discovery, if needed, to be conducted under Article 5 D~positions and

Discovery of the Georgia Civil Practice code.




                                              VII.


                                       PLACE OF TRIAL


Pursuant to O.C.G.A. § 9-11-40, Plaintiff hereby requests that trial of this case takes place in

Atlanta, Georgia.




                                             VIII.


                                        CERTIFICATION


                                              30 of 31
Case 1:22-cv-02297-SEG
       Case 1:22-cv-02297-SEG
                         Document
                              Document
                                  1-1 (Court
                                         3 Filed
                                             only) 06/10/22
                                                     Filed 06/09/22
                                                              Page 31Page
                                                                      of 3131 of 31




 Under Federal Rule of Civil Procedure 11, I certify' to the best of my knowledge, information, and

 belief that this complaint: (1) is· not being presented for an improper purpose, such as to harass,

 cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing

 law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the

 factual contentions have evidentiary support or, if specifically so identified, will likely have

 evidentiary support after a reasonable opportunity for further investigation or discovery; and (4)

 the complaint otherwise complies with the requirements of Rule 11.



 I agree to provide the Clerk's Office with any changes to my address where case related papers

 may be served. I understand that my failure to keep a current address on file with the Clerk's Office

 may result in the dismissal of my case.



 Dated:   June              09 2022
                            -'



                                                          Respectfully submitted,




 Physical Address:                                        R~       Dju~   K~n~~
 1280 W. Peachtree ST NW. Unit 2109                       Pro Se
Atlanta, GA 30309

                                                          Mailing Address:
Telephone: (404) 932-1651                                 570 Piedmont Ave. NE #55166
Email: cianeseya2022@gmail.com                            Atlanta, GA 30308




                                               31 of 31
